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AO 450 (SCD 04/2010) Judgment in a Civil Action
                                             UNITED STATES DISTRICT COURT
                                                        for the
                                                   District of South Carolina

         Stanley Moss, a/k/a Stanley Odell Moss,
                        Plaintiff
                            v.                                 )      Civil Action No.       8:20-cv-03194-DCC
                                                               )
                                                               )
                                                               )
    Ashley Z. Stanley; Hutchens Law Firm, LLC;                 )
      Rushmore Loan Management Services,
                     Defendant

                                          JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)             recover from the defendant (name)                 the amount of           dollars ($   ),
which includes prejudgment interest at the rate of       %, plus postjudgment interest at the rate of     %, along with
costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                        .
O other: the plaintiff, Stanley Moss, shall take nothing of the defendants; Ashley Z. Stanley, Hutchens Law Firm, LLC,
and Rushmore Loan Management Services, as to the complaint filed pursuant to 28 U.S.C. 1345 and this action is
dismissed without prejudice.

This action was (check one):

O decided by the Honorable Donald C. Coggins, Jr., United States District Judge, presiding, adopting the Report and
Recommendation set forth by the Honorable Jacquelyn D. Austin, United States Magistrate Judge, which recommended
dismissing plaintiff’s action.

Date: October 16, 2020                                               ROBIN L. BLUME, CLERK OF COURT




                                                                                Signature of Clerk or Deputy Clerk
